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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 NANO FOUNDATION, LTD., a New York non-profit
                                                                        CASE NUMBER
 corporation; and COLIN LEMAHIEU, an individual
                                                                                            2:19-cv-04237-SVW-PJW
                                                        Plaintiff(s)
                             v.
 DAVID C. SILVER, an individual                                               ORDER ON APPLICATION OF NON-
                                                                            RESIDENT ATTORNEY TO APPEAR IN A
                                                      Defendant(s).             SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 F. Jason Seibert                                                                 of   SEIBERT LAW
 Applicant’s Name (Last Name, First Name & Middle Initial                              6007 Greenway Manor Lane
 (971) 235-5764                                                                        Spring, Texas 77373
 Telephone Number                        Fax Number
 Jason@seibert-law.com
                             E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 David C. Silver


 Name(s) of Party(ies) Represent                                 ☐ Plaintiff(s) ☒ Defendant(s) ☐ Other:
and designating as Local Counsel
 Brandon S. Reif                                                                  of   REIF LAW GROUP, P.C.
 Designee’s Name (Last Name, First Name & Middle Initial                               1925 Century Park East - Suite 1700
 214706                           (310) 494-6500                                       Los Angeles, California 90067
 Designee’s Cal. Bar No.          Telephone Number               Fax Number
 BReif@ReifLawGroup.com
                             E-Mail Address                                            Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 ☐GRANTED
 ☐DENIED:             ☐   for failure to pay the required fee.
                      ☐   for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐   for failure to complete Application:
                      ☐   pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐   pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                          District.
                      ☐ because       Counsel is currently suspended with the Oregon State Bar as of July 18, 2019.
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: July 22, 2019
                                                                               STEPHEN V. WILSON, U.S. District Judge

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